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        UNITED STATES COURT OF APPEALS FOR THE THIRD CIRCUIT

                                                                        ACO-074
                                     No. 20-3137

                                 ANDREW JONES,
                                         Appellant

                                           v.

                     DISTRICT ATTORNEY PHILADELPHIA;
                     ATTORNEY GENERAL PENNSYLVANIA

                             (E.D. Pa. No. 2-19-cv-01685)

Present: KRAUSE and RESTREPO, Circuit Judges

      1. Joint Motion by the Parties for Limited Remand to the District Court pursuant
         to 28 U.S.C. § 2106 and Third Circuit L.A.R. 27.4(a)


                                                       Respectfully,
                                                       Clerk/CJG

_________________________________ORDER________________________________
The foregoing Motion is granted. The Court will retain jurisdiction.


                                                       By the Court,

                                                       s/ L. Felipe Restrepo
                                                       Circuit Judge

Dated: July 6, 2022
CJG/cc:       James S. Ballenger, Esq.
              Avrohom Einhorn, Esq.
              Kaitlin L. Meola, Esq.
              Michael A. Schwartz, Esq.
              Victoria Summerfield, Esq.
              Matthew Stiegler, Esq.            A True Copy :
              Ronald Eisenberg, Esq.
              George Wylesol, Clerk
                                                     Patricia S. Dodszuweit, Clerk
